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                UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA

RICHARD KAHN and AARK                    Case No. 1:20-cv-00781-JEJ
ENTERPRISE LLC d/b/a
MAULDIN’S, individually and on behalf PLAINTIFFS’ OPPOSITION TO
of all others similarly situated,        DEFENDANT’S MOTION TO
                                         DISMISS PLAINTIFFS’
                              Plaintiff, AMENDED COMPLAINT

     v.                               Hon. Chief Judge John E. Jones III

PENNSYLVANIA NATIONAL
MUTUAL CASUALTY INSURANCE
COMPANY, a Pennsylvania
corporation,

                       Defendant.
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                              I.      INTRODUCTION

       Plaintiffs Richard Kahn and AARK Enterprise LLC d/b/a Mauldin’s

(“Plaintiffs”) owned and operated a family restaurant in Mauldin, South Carolina. When

the COVID-19 pandemic hit the United States in March 2020, state and local authorities

took action to restrict public gatherings, often by shutting down or significantly limiting

the operation of non-essential businesses to combat the spread of COVID-19.

       South Carolina issued such a “stay-at-home” order, effectively prohibiting

occupancy and operation of all non-essential businesses, including in-person dining at

Plaintiffs’ restaurant. Due to these prohibitions by civil authority, Plaintiffs were unable

to maintain their business operations and were forced to close down the restaurant.

Like so many other restaurants and small businesses throughout the country, Plaintiffs’

closure was permanent due to their extensive loss of business income.

       This devastating result is precisely the type of covered loss that Defendant

Pennsylvania National Mutual Casualty Company (“Defendant”) agreed to cover when

the parties entered into Plaintiffs’ all-risk insurance policy (the “Policy”). Contrary to

Defendant’s assertions in the brief in support of its motion to dismiss (Dkt. 34; “Brief”),

the type of loss Plaintiffs have experienced qualifies as a “direct physical loss of or

damage to” their property, as well as to surrounding properties that led to civil authority

closures, both expressly provided for in the Policy. Plaintiffs have adequately pleaded

not only the direct physical loss or damage to their own business property, but that the

civil authority orders triggered Plaintiffs’ coverage under the Policy regardless of

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Plaintiffs’ own direct physical loss or damage. The parties’ conflicting interpretations of

these Policy terms demonstrates their ambiguity and gives rise to factual inquiries unripe

for adjudication at this stage.

       Defendant also fails to meet its burden to invoke the Policy’s “virus exclusion,”

and that exclusion is nonetheless inapplicable because the civil authority closures, not

the virus itself, were the “efficient proximate cause” of Plaintiffs’ losses. In addition,

the doctrine of regulatory estoppel prohibits Defendant from utilizing its virus

exclusion to reduce covered losses under the Policy. Importantly, since Plaintiffs argue

their losses were caused by a covered event (civil authority) and Defendant argues they

were caused by an excluded event (virus), disposition at the motion to dismiss stage

would be premature because the question of which event caused the loss is generally a

question of fact.

                           II.    STATEMENT OF FACTS

       In their amended complaint (Dkt. 22; “FAC”), Plaintiffs allege that their small

business was devastated by the impact of the COVID-19 pandemic. (Id. ¶ 2.) From

early March 2020 through early April 2020, the state of South Carolina adopted

restrictions on individuals and businesses that culminated in a “home or work” order

that prohibited non-essential business operations, such as Plaintiffs’ in-person dining

operations. (Id. ¶¶ 22-29.) Ultimately, these restrictions by state civil authority left

Plaintiffs no viable means to operate their business, and they were forced to shut down

the restaurant while sustaining significant business losses. (Id. ¶¶ 30.)

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       Plaintiffs further allege that the Policy they purchased from Defendant was an

“all risk” commercial policy that covered all claims unless explicitly excluded under the

Policy. (Id. ¶¶ 14, 16.) The Policy provides for “Civil Authority” coverage, indicating:

       We will pay for the actual loss of Business Income you sustain and
       necessary Extra Expense caused by action of civil authority that prohibits
       access to the described premises due to direct physical loss of or damage
       to property, other than at the described premises, caused by or resulting
       from any Covered Cause of Loss.

(Id. ¶ 21.) Plaintiffs also allege that the Policy’s virus exclusion in the Policy is

inapplicable to Plaintiffs’ claims because the orders of civil authority caused the losses.

(Id. ¶ 38.) In addition, Plaintiffs allege that the virus exclusion stemmed from the fact

that the insurance industry did in fact recognize viruses to be capable of causing

“physical damage” to properties and sought to illegally reduce coverage. (Id. ¶ 39.)

       Plaintiffs submitted a claim for their business losses to Defendant; Defendant

swiftly denied Plaintiffs’ claim. (Id. ¶¶ 3, 5.) In denying Plaintiffs’ claim, Defendant

asserted—as it does now in its Brief—that Plaintiffs’ losses are not covered by the

Policy because they were not the result of “direct physical loss of or damage to”

Plaintiffs’ business property, that the civil authority provision is inapplicable, and that

the Policy’s endorsement regarding claims arising from any “virus, bacterium or other

microorganism” excludes Plaintiffs’ claim. (Id. ¶ 5.)

       Plaintiffs bring this action individually and on behalf of a nationwide class of

similarly situated persons. (Id. ¶ 41.)




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              III.   STATEMENT OF QUESTIONS INVOLVED

      Defendant’s motion to dismiss involves the following issues, without limitation:

      A.     Do Plaintiffs sufficiently allege they suffered a “direct physical loss of or

damage to” their business property that is covered under the Policy, given that the

subject terminology is ambiguous and should be construed in Plaintiffs’ favor?

      Answer: Yes.

      B.     Are Plaintiffs required to allege structural alterations to their business

property to plead “direct physical loss of or damage to” that property?

      Answer: No.

      C.     Do Plaintiffs sufficiently allege that the civil authority provision of the

Policy was triggered by state “stay at home” orders, given that those orders were the

result of the rapidly spreading presence, contamination, and related human infections

associated with COVID-19?

      Answer: Yes.

      D.     Are Plaintiffs required to allege a complete prohibition of access to or

operation of their business property to trigger the Policy’s civil authority provision?

      Answer: No.

      E.     Does Defendant fail to meet its burden to invoke the virus exclusion for

Plaintiffs’ claims, given principles of efficient proximate cause and regulatory estoppel?

      Answer: Yes.




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       F.     Is the Policy language in dispute—e.g., “direct physical loss of or damage

to property”; “prohibits access”—sufficiently ambiguous to require a factual inquiry

unripe for adjudication at the pleading stage, given that the plain and ordinary meaning

of these Policy terms are subject to a reasonable interpretation by Plaintiffs that

provides for coverage and contradicts Defendant’s interpretation?

       Answer: Yes.

       G.     Does the efficient proximate cause doctrine require a factual inquiry, given

that Defendant argues Plaintiffs’ claims are not covered by the Policy due to the virus

exclusion and Plaintiffs argue for coverage under the civil authority provision?

       Answer: Yes.

       H.     Do Plaintiffs sufficiently plead each of the elements of their three causes

of action in the amended complaint, such that Defendant’s motion to dismiss should

be denied?

       Answer: Yes.

                                  IV.    ARGUMENT

A.     Legal Standards

       In deciding a motion to dismiss under Federal Rule of Civil Procedure (“Rule”)

12(b)(6), a court must accept as true the factual allegations in the complaint and draw

all inferences derived therefrom in the light most favorable to the non-moving party.

Rocks v. Philadelphia, 868 F.2d 644, 645 (3d Cir. 1989); Davis v. Wells Fargo, 824 F.3d 333,

341 (3d Cir. 2016); Ostrzenski v. Seigel, 177 F.3d 245, 251 (4th Cir. 1999). A complaint

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must provide “enough facts to state a claim to relief that is plausible on its face.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Twombly, 550 U.S. at 556).

       “Determining whether a complaint states a plausible claim for relief will . . . be a

context specific task that requires the reviewing court to draw on its judicial experience

and common sense.” McTernan v. City of York, 577 F.3d 521, 530 (3d Cir. 2009) (quoting

Iqbal, 556 U.S. at 679). A court should only grant a motion to dismiss under Rule

12(b)(6) if the factual allegations in the complaint are not sufficient to “‘raise a right to

relief above the speculative level.’” W. Run Student Hous. Assocs., LLC v. Huntington Nat’l

Bank, 712 F.3d 165, 169 (3d Cir. 2013) (quoting Twombly, 550 U.S. at 555).

       Insurance policies, including all-risk policies, should be interpreted according to

their “plain and ordinary meaning.” Estate of Neff v. Alterra Health Care Corp., 271 F.

App’x 224, 226 (3d Cir. 2008). Policy provisions that are ambiguous—i.e., susceptible

to two different, reasonable meanings—“must be construed against the insurer and in

favor of the insured; any reasonable interpretation offered by the insured, therefore,

must control.” McMillan v. State Mut. Life Ins. Co., 922 F.2d 1073, 1075 (3d Cir. 1990);

Madison Constr. Co. v. Harleysville Mut. Ins. Co., 735 A.2d 100, 106 (Pa. 1999); see also State

Farm Fire & Cas. Co. v. Barrett, 530 S.E.2d 132, 135 (S.C. 2000) (“Where the words of

an insurance policy are capable of two reasonable interpretations, the interpretation

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most favorable to the insured will be adopted. . . . If there is no ambiguity, the insurance

policy’s terms must be interpreted and enforced according to their plain, ordinary, and

popular meaning.”) (citations omitted).

       Conversely, exclusions to coverage are to be construed narrowly against the

insurer, who “bears the burden of proving the applicability of any exclusions or

limitations on coverage, since disclaiming coverage on the basis of an exclusion is an

affirmative defense.” Koppers Co. v. Aetna Cas. & Sur. Co., 98 F.3d 1440, 1446 (3d Cir.

1996); Owners Ins. Co. v. Clayton, 614 S.E.2d 611, 614 (S.C. 2005) (“Insurance policy

exclusions are construed most strongly against the insurance company, which also bears

the burden of establishing the exclusion’s applicability.”).

B.     Plaintiffs Sufficiently Plead a Direct Physical Loss of or Damage to Their
       Business Property, Which Does Not Require Structural Alteration.

       1.     The Policy language in ambiguous and should be construed in favor
              of Plaintiffs’ reasonable interpretation.

       The language of the Policy should be interpreted according to its “plain and

ordinary meaning.” Estate of Neff, 271 F. App’x at 226. Both Pennsylvania and South

Carolina law resolve any contractual ambiguities in favor of the insured. Sciolla v. W.

Bend Mut. Ins. Co., 987 F. Supp. 2d 594, 599 (E.D. Pa. 2013) (“Ambiguous insurance

policy provisions are construed in favor of the insured to further the contract’s prime

purpose of indemnification and against the insurer, as the insurer drafts the policy, and

controls coverage.”) (applying Pennsylvania law) (citations and quotations omitted);

Barrett, 530 S.E.2d at 135. “The proper focus regarding issues of coverage under

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insurance contracts is the reasonable expectation of the insured.” Bubis v. Prudential Prop.

& Cas. Ins. Co., 718 A.2d 1270, 1272 (Pa. Super. Ct. 1998). “[A] court’s focus upon the

insured’s ‘reasonable expectations’ is not limited only to situations in which the

insurance contract might be deemed ambiguous . . . .” Betz v. Erie Ins. Exch., 957 A.2d

1244, 1253 (Pa. 2008).

       The operative language in the Policy is “direct physical loss of or damage to

property.” (FAC ¶ 5.) Unlike many other terms in the Policy, Defendant chose not to

define “direct physical loss” or “[direct physical] damage.” Notably, this language

contains the disjunctive “or,” which necessarily means these terms are not redundant

and “loss” must not be synonymous with “damage.”1 “Loss” not only means to

misplace, but to be deprived of something, including the loss of use of one’s property.2

       As a threshold issue, Defendant’s motion should be denied even if its

interpretation of “direct physical loss of or damage to property” in its Brief is

reasonable, provided Plaintiff’s interpretation also is reasonable and thus ambiguity

exists. McMillan, 922 F.2d at 1075. Here, Plaintiffs’ loss of use of their restaurant can




1
    See Disjunctive, https://www.dictionary.com/browse/disjunctive (“separating;
dividing; distinguishing”). In its Brief (at 17), Defendant concedes this point, citing
Wagner v. Wagner, 887 A.2d 282, 286 (Pa. Super. Ct. 2005).
2
  See Loss, https://www.dictionary.com/browse/loss; see also Source Food Tech, Inc. v. U.S.
Fid. & Guar. Co., 465 F.3d 834, 838 (8th Cir. 2006) (finding no covered loss where the
policy language was “direct physical loss to property,” not “loss of property”).

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reasonably be interpreted to be both “direct”3 and “physical,”4 as the civil authority

directly prohibited Plaintiffs’ use of the physical restaurant space, i.e., a prohibition from

operating their sit-down restaurant and allowing patrons to dine there.

       Courts have previously concluded that the insurance term “physical loss” is

ambiguous. See, e.g., Wakefern Food Corp. v. Liberty Mut. Fire Ins. Co., 968 A.2d 724, 735

(N.J. Super. Ct. App. Div. 2009) (“Since ‘physical’ can mean more than material

alteration or damage, it was incumbent on the insurer to clearly and specifically rule out

coverage in the circumstances where it was not to be provided, something that did not

occur here.”) (quoting Customized Distribution Servs. v. Zurich Ins. Co., 862 A.2d 560, 566

(N.J. Super. Ct. App. Div. 2004) (internal quotations omitted)).

       Here, the ambiguity of these central Policy terms defeats Defendant’s argument

that its favored interpretation of those terms is dispositive, when the ambiguity should

favor Plaintiffs’ reasonable interpretation as a matter of law—if the interpretative

dispute should even be adjudicated as a matter of law. (See Brief at 9-10.) And the cases

upon which Defendant relies are distinguishable. See, e.g., Philadelphia Parking Auth. v.

Federal Ins. Co., 385 F. Supp. 2d 280, 282-83 (S.D.N.Y. 2005) (plaintiff failed to allege

that airport garage was inaccessible or closed when airplanes were grounded after the

9/11 terrorist attacks; additionally, the subject policy had a “physical alteration”



3
  Direct, https://www.dictionary.com/browse/direct (“inevitable; consequential”).
4
  Physical, https://www.dictionary.com/browse/physical (“of or relating to that which
is material”).

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requirement); Holiday Village East Home Owners Ass’n v. QBE Ins. Corp., 830 F. Supp. 2d

24, 27 n.4 (D.N.J. 2011) (plaintiff failed to allege a covered “collapse,” a term which

was expressly defined in the policy and held to be unambiguous).

       2.     Recent COVID-19 insurance coverage decisions have found
              covered losses or held disposition at the pleading stage to be
              premature.

       There have been more decisions specific to COVID-19 insurance claims for

business interruption than those Defendant cites in its Brief. (See generally Brief at 14-

15.) Numerous state courts within this Circuit have recently denied motions to dismiss

and demurrers on the basis that—in the context of the COVID-19 pandemic and

related civil authority orders—the interpretation of the disputed insurance language

necessitates factual determinations that would be premature at the pleading stage. See

Ridley Park Fitness, LLC v. Philadelphia Indem. Ins. Co., No. 20080358, at 1 n.1 (Pa. 1d Jud.

Dist. Aug. 31, 2020) (Exhibit A) (in overruling demurrer, holding that “it would be

premature for this court [to] resolve the factual determinations put forth by defendants

to dismiss plaintiff’s claims. Taking the factual allegations made in plaintiff’s complaint

as true, as this court must at this time, plaintiff has successfully pled to survive this stage

of the proceedings.”); see also Optical Servs., USA v. Franklin Mut. Ins. Co., No. BER-L-

3681-20, Tr. at 24-26 (N.J. Super. Ct. Aug. 13, 2020) (Exhibit B) (denying defendant’s

motion to dismiss and ordering “issue-oriented discovery” and holding that “each of

the respective arguments advanced by the parties requires a fact-sensitive analysis




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wherein the respective parties have failed to present a sufficient record before this Court

[without any discovery] for a legal determination of their respective positions.”).5

       In addition to its decision in Studio 417, Inc. v. Cincinnati Ins. Co., No. 20-cv-3127,

2020 WL 4692385 (W.D. Mo. Aug. 12, 2020) (Exhibit D), which Defendant cites (Brief

at 15), a Missouri district court has denied motions to dismiss in two additional cases,

holding that “there remain unresolved factual questions as to the scope, effect,

applicability, and impact of the Stay Home Orders—questions neither side has fully

briefed and that are better suited for resolution at a later stage of litigation once

discovery has taken place.” See Blue Springs Dental Care, LLC v. Owners Ins. Co., No. 20-

cv-383, 2020 WL 5637963, at *8 (W.D. Mo. Sept. 21, 2020) (Exhibit E); see also K.C.

Hopps, Ltd. v. The Cincinnati Ins. Co., Inc., No. 20-cv-437, Dkt. 29 at 1-2 (W.D. Mo. Aug.

12, 2020) (Exhibit F) (order denying motion to dismiss on same grounds as Studio 417).

       Defendant’s attempt to distinguish Studio 417 from the instant case misses the

mark. (Brief at 15-16.) That court held that the plaintiffs’ “harm is tethered to their

alleged physical loss caused by COVID-19 and the Closure Orders.” See Studio 417,

2020 WL 4692385, at *6-7 (Ex. D) (also finding independent civil authority coverage).6

Further, the Third Circuit has held there does not have to be actual contamination or



5
  Also recently, a Florida district court similarly held that “several arguably ambiguous
aspects of the Policy make determination of coverage inappropriate at this stage.”
Urogynecology Specialist of Fla. LLC v. Sentinel Ins. Co., Ltd., No. 20-cv-1174, Dkt. 21 at 6
(M.D. Fla. Sept. 24, 2020) (Exhibit C).
6
  See infra Sections IV.C (civil authority coverage).

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adulteration for a property to be insured against loss, provided a physical cause

imminently threatens the property’s function. See Port Auth. of N.Y. & N.J. v. Affiliated

FM Ins. Co., 311 F.3d 226, 236 (3d Cir. 2002); see also Hetrick v. Valley Mut. Ins. Co., No.

2245, 1992 WL 524309, at *3 (Pa. Ct. Com. Pl. May 28, 1992) (Exhibit G) (finding

coverage would apply at residence if outside oil spill rendered property temporarily

uninhabitable).

         Defendant’s assertion of an “interpretational problem arising from the [Policy’s]

‘Period of Restoration’ clause” (Brief at 16) requires a premature factual inquiry as to

when and whether such a period begins and ends in the context of the ongoing

COVID-19 pandemic.7 And Defendant’s subsequent argument regarding that clause

(Brief at 18-19) relies on inapposite authority. See Newman Myers Kreines Gross Harris, P.C.

v. Great N. Ins. Co., 17 F. Supp. 3d 323, 324, 328 (S.D.N.Y. 2014) (finding no coverage

resulted from preemptive electrical shutdown to combat flooding that had previously

occurred, not a future flood threat; the court recognized that “the critical policy term at

issue, requiring ‘physical loss or damage,’ does not require that the physical loss or

damage be tangible, structural or even visible.”); Roundabout Theatres, Inc. v. Cont’l Cas.

Co., 302 A.D.2d 1, 8 (N.Y. App. Div. 2002) (finding no coverage where road closure

prevented theatre access and the policy did not contain a civil authority coverage

provision, but actually a provision excluding losses arising from civil authority closures).



7
    See infra Section IV.E.2 (factual inquiries premature).

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         Similarly, the COVID-related decisions on which Defendant relies (Brief at 14-

15) are inapposite to the instant case for various reasons. See generally Rose’s 1, LLC v.

Erie Ins. Exch., No. 2020-CA-002424-B, 2020 WL 4589206 (D.C. Super. Ct. Aug. 6,

2020) (Exhibit H) (a summary judgment decision following a fully developed record);

10E, LLC v. Travelers Indem. Co. of Conn., No. 20-cv-4418, 2020 WL 5095587 (C.D. Cal.

Aug. 28, 2020) (Exhibit I) (applying California policy to enforce virus exclusion,

distinguishable from Pennsylvania law)8; Diesel Barbershop, LLC v. State Farm Lloyds, No.

20-cv-461, 2020 WL 4724305 (W.D. Tex. Aug. 13, 2020) (Exhibit J) (same re: Texas).

         3.     Plaintiffs need not allege structural alteration to state a claim for
                “direct physical loss of or damage to property.”

         “[T]here is a genuine issue of fact whether the functionality of the [plaintiffs’]

property was nearly eliminated or destroyed, or whether their property was made useless

or uninhabitable.” Motorists Mut. Ins. Co. v. Hardinger, 131 F. App’x 823, 826-27 (3d Cir.

2005) (discussing Port Auth. of N.Y. & N.J., 311 F.3d 226); see also Gregory Packaging, Inc.

v. Travelers Prop. Cas. Co. of Am., No. 12-cv-4418, 2014 WL 6675934, at *6 (D.N.J. Nov.

25, 2014) (Exhibit K) (finding plaintiff incurred “physical loss or damage to” its

premises and indicating that “courts considering non-structural property damage claims

have found that buildings rendered uninhabitable by dangerous gases or bacteria

suffered direct physical loss or damage”) (collecting cases under Pennsylvania,

Massachusetts, and Virginia law).


8
    See infra Section IV.D.2 (efficient proximate cause).

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      In Hardinger, the Third Circuit overturned a grant of summary judgment to the

defendant-insurer, finding that bacterial contamination could constitute direct physical

loss to the property because, despite the lack of physical damage, it rendered the

property too dangerous to inhabit. 131 F. App’x at 825; see also Manpower Inc. v. Ins. Co.

of Pa., No. 08-cv-85, 2009 WL 3738099, at *3 (E.D. Wis. Nov. 3, 2009) (Exhibit L)

(finding business income coverage based on inability to use building that was unstable

but had not suffered visible damage).

      That COVID-19 may not permanently endure at a physical location is not

dispositive to the determination of physical loss or damage. Recently, the Pennsylvania

Supreme Court found that COVID-19 “spreads primarily through person-to-person

contact, has an incubation period of up to fourteen days, one in four carriers of the

virus are asymptomatic, and the virus can live on surfaces for up to four days.” Friends

of Danny DeVito v. Wolf, 227 A.3d 872, 889-90 (Pa. 2020). “Thus,” the Court concluded,

“any location . . . where two or more people can congregate is within the disaster area.”

Id. Defendant’s reference to DeVito’s four-day surface life finding (Brief at 14 n.5)

ignores the fact that, unlike other pathogens that are more transient or for which there

are curative measures, COVID-19 has remained and will remain a dangerous threat to

all people and properties while the pandemic persists. Even if a restaurant regularly

cleans all its surfaces, any patron visiting thereafter can reintroduce COVID-19 and

contaminate the property anew.




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       Defendant’s focus on the Plaintiffs’ actual restaurant building is a similar

misdirection. (See Brief 12-15.) In reality, Plaintiffs’ business property—the property to

which Plaintiffs’ legal rights are attached—is more accurately attributed to Plaintiffs’ use

of the premises as a restaurant. Defendant’s argument that Plaintiffs must show a

demonstrable, physical alteration to the property’s actual structure is an unjustifiably

narrow interpretation of the Policy that ignores the “loss of” language. Studio 417, Inc.,

2020 WL 4692385, at *5 (Ex. D) (“‘[P]hysical loss’ is not synonymous with physical

damage. . . . [E]ven absent a physical alteration, a physical loss may occur when the

property is uninhabitable or unusable for its intended purpose.”).

       As in Studio 417, a multitude of courts within this Circuit and throughout the

nation have held that an event rendering a property unusable for its intended purpose

can cause “direct physical loss of or damage to” the property even if the structure itself

is not altered or harmed. See, e.g., Port Auth. of N.Y. & N.J., 311 F.3d at 236 (holding

that physical loss or damage results from asbestos “contamination of the property such

that its function is nearly eliminated or destroyed, or the structure is made useless or

uninhabitable, or if there exists an imminent threat of the release of a quantity of

asbestos fibers that would cause such loss of utility.”); Gibson v. Secretary of U.S. Dep’t of

Housing and Urban Dev., 479 F. Supp. 3, 10 (M.D. Pa. 1978) (finding coverage for lost

property where an insured’s home was unusable for its intended purposes as a

residence); Cyclops Corp. v. Home Ins. Co., 352 F. Supp. 931, 937 (W.D. Pa. 1973) (finding




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policyholder entitled to coverage for loss of business income where vibration of motor,

without apparent damage, caused it to be shut down).9


9
  See also Travco Ins. Co. v. Ward, 715 F. Supp. 2d 699, 708 (E.D. Va. 2010) (noting that
the majority of cases nationwide find that physical damage to property is not necessary
where, at least, the property has been rendered unusable by a covered cause of loss);
Azalea, Ltd. v. Am. States Ins. Co., 656 So. 2d 600, 601-02 (Fla. Dist. Ct. App. 1995)
(finding coverage where, as a result of an unknown substance released into a sewage
treatment plant causing a shutdown, and the city’s order relating to same, the plant
could not be used for its intended purpose); Sentinel Mgmt. Co. v. N.H. Ins. Co., 563
N.W.2d 296, 300 (Minn. Ct. App. 1997) (“Direct physical loss also may exist in the
absence of structural damage to the insured property.”); One Place Condo., LLC v.
Travelers Prop. Cas. Co. of Am., No. 11-cv-2520, 2015 WL 2226202, at *9 (N.D. Ill. Apr.
22, 2015) (Exhibit M) (“Where a general all-risk commercial or homeowner’s policy
insures against both ‘loss’ or ‘damage’ to an existing structure, ‘physical’ damage may
take the form of loss of use of otherwise undamaged property, which in turn suffices
as a covered loss.”); Or. Shakespeare Festival Ass’n v. Great Am. Ins. Co., No. 15-cv-1932,
2016 WL 3267247 (D. Or. June 7, 2016), vacated by stipulation of the parties, No. 15-
cv-1932 (D. Or. Mar. 6, 2017) (Exhibit N) (holding that structural damage was not a
requirement for physical damage, that “certainly air is not mental or emotional, nor is
it theoretical” but a physical thing affected by wildfire smoke, and that “[e]ven though
the loss or damage was not structural or permanent, the property experienced a loss of
‘essential functionality.’”) (citations omitted); Prudential Prop. & Cas. Ins. Co. v. Lillard-
Roberts, No. 01-cv-1362, 2002 WL 31495830, at *8 (D. Or. June 18, 2002) (Exhibit O)
(the word “physical” limits coverage only in the sense that it “‘negates any possibility
that the policy was intended to include ‘consequential or intangible injury,’ such as
depreciation in value, within the term ‘property damage.’”); Total Intermodal Servs. Inc. v.
Travelers Prop. Cas. Co. of Am., No. 17-cv-4908, 2018 WL 3829767, at *3-4 (C.D. Cal.
July 11, 2018) (Exhibit P) (holding that that “direct physical loss of or damage to”
encompassed “loss of use” of the property and ultimately held that property that was
not physically damaged still constituted physical loss of insured property); Fountain
Powerboat Indus., Inc. v. Reliance Ins. Co., 119 F. Supp. 2d 552, 557 (E.D.N.C. 2000) (“[T]he
court finds that no requirement for physical loss to the property is required under the
contract of insurance in order to trigger business interruption coverage . . . .”); Am.
Guarantee & Liab. Ins. Co. v. Ingram Micro, Inc., No. 99-cv-185, 2000 WL 726789, at *2
(D. Ariz. April 18, 2000) (Exhibit Q) (“‘physical damage’ is not restricted to the physical
destruction of harm . . . but includes loss of access, loss of use, and loss of
functionality”); Stack Metallurgical Servs., Inc. v. Travelers Indem. Co. of Conn., No. 05-cv-
1315, 2007 WL 464715 (D. Or. Feb. 7, 2007) (Exhibit R) (finding “direct physical loss

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       In addition, courts often recognize the fact-finding results of legislatures and

executive agencies. See, e.g., United States v. Mead Corp., 533 U.S. 218, 227 (2001). With

regard to the COVID-19 pandemic, many state and local authorities have issued

determinations of fact that unequivocally indicate COVID-19 causes direct physical loss

of or damage to property.10


of or damage to” property when it could not be used for its “ordinary expected
purpose” even though it could still be used for other purposes); Murray v. State Farm
Fire & Cas. Co., 509 S.E.2d 1, 17 (W. Va. 1998) (finding premises unusable by rockslide
risk constituted direct physical loss even without any structural damage); Hughes v.
Potomac Ins. Co. of D.C., 1999 Cal. App. 2d 239, 248-49 (1962) (“Despite the fact that a
‘dwelling building’ might be rendered completely useless to its owners, appellant would
deny that any loss or damage had occurred unless some tangible injury to the physical
structure itself could be detected. Common sense requires that a policy should not be
so interpreted in the absence of a provision specifically limiting coverage in this
manner.”); Matzner v. Seaco Ins. Co., 9 Mass L. Rptr. 41, 1998 WL566658, at *3 (Mass.
Super. Ct. Aug. 12, 1998) (Exhibit S) (“(T)he phrase ‘direct physical loss or damage’ is
ambiguous in that it is susceptible of at least two different interpretations. One includes
only tangible damage to the structure of insured property. The second includes a wider
array of losses”) (collecting cases).
10
   See, e.g., City of Durham NC, Second Amendment to Declaration of State of
Emergency, at 8 (effective Mar. 26, 2020) (prohibiting entities that provide food services
from allowing food to be eaten onsite “due to the virus’s propensity to physically impact
surfaces                     and                    personal                    property”)
(https://durhamnc.gov/DocumentCenter/View/30043/City-of-Durham-Mayor-
Emergency-Dec-Second-Amdmt-3-25-20 FINAL); N.Y.C. Emergency Exec. Order
No. 100, at 2 (Mar. 16, 2020) (COVID-19 “physically is causing property loss and
damage”)              (https://www1.nyc.gov/assets/home/downloads/pdf/executive-
orders/2020/eeo-100.pdf); N.Y.C. Emergency Executive Order No. 103, at 1 (Mar. 25,
2020) (civil actions to prevent the spread of COVID-19 “have led to property loss and
damage”)              (https://www1.nyc.gov/assets/home/downloads/pdf/executive-
orders/2020/eeo-103.pdf); Napa Cty. Cal. Health & Human Service Agency, Order of
the Napa Cty. Health Officer (Mar. 18, 2020) (issuing restrictions based on spread of
“and the physical damage to property caused by” COVID-19)
(https://www.countyofnapa.org/DocumentCenter/View/16687/3-18-2020-Shelter-
at-Home-Order); Harris Cty. Tex. Office of Homeland Security & Emergency Mgmt.,

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       Notably, Defendant relies entirely on noncontrolling and distinguishable

authorities—most of which are summary judgment or post-trial decisions based on an

evidentiary record—to argue that a “demonstrable, physical alteration of the property”

is required for Plaintiffs’ loss to be covered. (Brief at 12-15.)11



Order of Cty. J. Lina Hidalgo, at 2 (Mar. 24, 2020) (COVID-19 can cause “property
loss or damage”) (https://www.taa.org/wp-content/uploads/2020/03/03-24-20-Stay-
Home-Work-Safe-Order Harris-County.pdf); City of Oakland Park Fla. Local Public
Emergency Action Directive, at 2 (Mar. 19, 2020) (COVID-19 is “physically causing
property damage”) (https://oaklandparkfl.gov/DocumentCenter/View/8408/Local-
Public-Emergency-Action-Directive-19-March-2020-PDF); Colorado Dep’t of Pub.
Health & Env’t, Updated Public Health Order No. 20-24, at 1 (Mar. 26, 2020)
(emphasizing the danger of “property loss, contamination, and damage” due to
COVID-19’s “propensity to attach to surfaces for prolonged periods of time”)
(https://www.pueblo.us/DocumentCenter/View/26395/Updated-Public-Health-
Order---032620).
11
   See The Phoenix Ins. Co. v. Infogroup, Inc., 147 F. Supp. 3d 815, 823-24 (S.D. Iowa 2015)
(decision on cross-motions for summary judgment involving claim for relocation
expenses caused by flooding, where authorities only warned of the flood risk but did
not order relocation); MRI Healthcare Ctr. of Glendale, Inc. v. State Farm Gen. Ins. Co., 187
Cal. App. 4th 766, 778-79 (2010) (operative policy language was “direct physical loss to
business personal property,” not “direct physical loss of or damage to property”);
Mastellone v. Lightning Rod Mut. Ins. Co., 884 N.E.2d 1130, 1143 (Oh. Ct. App. 2008)
(post-trial decision based on expert testimony about the temporary nature of mold
damage; the court also found no structural damage requirement under Ohio law to
show “physical loss”); Mama Jo’s, Inc. v. Sparta Ins. Co., No. 17-cv-23362, 2018 WL
3412974, at *9 (S.D. Fla. June 11, 2018) (Exhibit T) (holding that the restaurant was not
“uninhabitable or unusable . . . the restaurant remained open every day . . . and there is
no evidence that dust had an impact on the operation other than requiring daily
cleaning.”); Universal Image Prods., Inc. v. Federal Ins. Co., 475 F. App’x 569, 572-73 (6th
Cir. 2012) (affirming summary judgment after a fully-developed record and a failure by
plaintiff to present evidence supporting physical loss); Heller’s Gas, Inc. v. Int’l Ins. Co.,
No. 15-cv-1350, 2017 WL 4119809 (M.D. Pa. Sept. 18, 2017) (Exhibit U) (summary
judgment decision where plaintiff failed to present evidence of the underground
damage claimed); Harry’s Cadillac-Pontiac-GMC Truck Co., Inc. v. Motors Ins. Corp., 486
S.E.2d 249 (N.C. App. 1997) (affirming summary judgment where plaintiff “neither

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      Defendant relies on yet another inapposite appellate opinion affirming summary

judgment under Minnesota law, where a truckload of beef was held up at the Canadian

border. See Source Food Tech, Inc., 465 F.3d at 838. The court found that the plaintiff’s

concession that the beef itself was not contaminated or damaged was dispositive

because the subject policy language was “direct physical loss to property,” not “of

property.” Id. Minnesota state courts have found physical loss or damage absent

structural damage. See, e.g., Gen. Mills, Inc. v. Gold Medal Ins. Co., 622 N.W.2d 147, 149

(Minn. Ct. App. 2001) (direct physical loss or damage may exist without destruction or

structural damage of the property); Lipshutz v. Gen. Ins. Co. of Am., 96 N.W.2d 880, 885-

86 (1959) (finding direct loss to insured’s grocery store when windstorm caused damage

to public utility serving area even though power lines connected to the premises

remained intact).

      Defendant’s characterization of Port Authority also lacks merit. (See Brief at 22-

23.) There, the court found that actual contamination of the property need not exist for

coverage if a physical cause imminently threatens a property’s function or habitability,

even from “sources unnoticeable to the naked eye.” Port Auth. of N.Y. & N.J., 311 F.3d

at 235. Defendant effectively concedes as much when quoting that decision, because

COVID-19 did in fact “make [Plaintiffs’ restaurant] unusable.” Id. at 236. Here,




alleged nor offered proof” of lost income when a snowstorm made car dealership
inaccessible).

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Plaintiffs’ restaurant was not “functional” as Defendant argues (Brief at 22); like in Port

Authority, the restaurant lost its utility, leading directly to its permanently closure.

C.     Plaintiffs’ Claims Are Covered by the Policy’s Civil Authority Provision.

       1.     Plaintiffs sufficiently allege physical loss or damage to other
              properties triggering civil authority coverage.

       The elements for triggering civil authority coverage require that the insured

suffer a loss of business income: (1) caused by an action of a civil authority that (2)

prohibits access to the described premises (3) due to a direct physical loss or damage to

property other than at the described premises, and (4) the loss of or damage to the

property other than at the described premises must be caused by or result from a

“covered cause of loss.” Narricot Indus., Inc. v. Fireman’s Fund Ins. Co., No. 01-cv-4679,

2002 WL 31247972, at *4 (E.D. Pa. Sept. 30, 2002) (Exhibit V).

       Here, all of these elements are satisfied. Defendant does not argue that the South

Carolina orders (FAC ¶¶ 22-30) are not actions of civil authority, so there is no dispute

as to the first element. Second, those orders clearly prohibited access to Plaintiffs’

business property by Plaintiffs’ customers, the source of Plaintiffs’ business income.

(Id.) Third, Plaintiffs allege that the orders were issued as a result of COVID-19

proliferation near and around their restaurant. (Id.) Finally, much like how Plaintiffs’

losses should be covered under the Policy, the losses by surrounding business amount

to “direct physical loss” under the Policy. (FAC ¶¶ 29-30, 34, 37.)




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       The Studio 417 court reached the same conclusion, holding that the plaintiffs’

allegations of actual loss were “applicable to other property” and that the civil authority

orders included “property other than” the plaintiffs’ premises. 2020 WL 4692385, at *7

(Ex. D). Other courts also have found non-structural damage sufficient to trigger civil

authority coverage. See, e.g., Sloan v. Phoenix of Hartford Ins. Co., 207 N.W.2d 434, 437

(Mich. Ct. App. 1973) (concluding that physical damage to the premises was not a

prerequisite for the payment of benefits under the business-interruption policy).

       Defendant’s authority against civil authority coverage is distinguishable on the

facts or the applicable policy language.12 In Ski Shawnee, the policy only provided

coverage for “a complete inability to access, or a forced closing by a civil authority.”

Ski Shawnee, Inc. v. Commonwealth Ins. Co., No. 09-cv-2391, 2010 WL 2696782, at *5 (M.D.

Pa. July 6, 2010) (Exhibit W). There, the bridge serving as the primary route to the

plaintiff’s ski area collapsed, but it could be reached by other roads and there was no

civil authority closure of the actual ski area. Id. at *1.13 In Syufy Enterprises, the court

found no civil authority coverage because the city curfew was a preemptive measure to

prevent a future threat—looting and riots—that had not yet happened. Syufy Enters. v.


12
   Defendant’s assertion that “the Virus Exclusion limits coverage under the Civil
Authority coverage” (Brief at 24 n.10) ignores the efficient proximate cause doctrine
applicable to such a “covered event versus excluded event” dispute and the resulting
need for a factual inquiry. See infra Section IV.D.2.
13
   The court in Commstop dealt with a similar deficiency, where the plaintiff’s
convenience store lost business due to a road closure, but access to the store itself was
never prohibited by civil authority. Commstop, Inc. v. Travelers Indem. Co., No. 11-cv-1257,
2012 WL 1883461, at *9 (W.D. La. 2012) (Exhibit X).

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Home Ins. Co. of Ind., No. 94-cv-756, 1995 WL 129229, at *1-2 (N.D. Cal. Mar. 21, 1995)

(Exhibit Y). Here, COVID-19 was not a “potential threat” at the time of the civil

authority orders, but an active pandemic that had already spread throughout Plaintiffs’

community, state and the entire country. (FAC ¶¶ 22-29.)

       Defendant’s reliance on the United Air Lines case suffers from similar flaws.

There, the airline was not entitled to civil authority coverage when the government

grounded flights following the 9/11 terrorist attacks. United Air Lines, Inc. v. Ins. Co. of

Pa., 439 F.3d 128, 130 (2d Cir. 2006). Not only are these circumstances factually

distinguishable like in Syufy Enterprises, but the policy language in United Air Lines also

materially differed: that civil authority provision required the insured’s loss to be the

“direct result of damage to adjacent premises” Id. at 129. Here, the Policy’s provision is

much broader, providing Plaintiffs coverage for their losses “due to direct physical loss

of or damage to property, other than at the described premises.” (FAC ¶ 21.)14




14
  Defendant’s remaining authority is also distinguishable due to more restrictive civil
authority provisions. Cleland Simpson Co. v. Fireman’s Fund Ins. Co., 140 A.2d 41, 43 (Pa.
1958) (limited to “actual loss . . . as a direct result of a peril insured against access to the
premises described”); Kelaher, Connell & Conner v. Auto-Owners Ins. Co., No. 19-cv-693,
2020 WL 886120, at *5 (D.S.C. Feb. 24, 2020) (Exhibit Z) (“requires access to the
insured property to be ‘prohibited by order of civil authority because of damage or
destruction of property adjacent to the described premises by the perils insured
against.’”).

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      2.     The Policy’s civil authority provision does not require a complete
             prohibition of access to Plaintiffs’ business property.

      In Studio 417, the court found that the closure orders sufficiently triggered the

subject policy’s civil authority provision by mandating “‘that all inside seating is

prohibited in restaurants,’ and that ‘every person in the State of Missouri shall avoid

eating or drinking at restaurants,’ with limited exceptions for ‘drive-thru, pickup, or

delivery options.’” 2020 WL 4692385, at *7 (Ex. D). Plaintiffs allege identical

restrictions on their restaurant in South Carolina’s closure orders and they need not

plead an absolute prohibition on business operation or entry to invoke the Policy’s civil

authority coverage, especially considering the devastating and permanent impact on

their business. (FAC ¶¶ 22-30.)

      The circumstances in Narricot also were analogous, where local civil authorities

prohibited operation of an industrial plant in the wake of Hurricane Floyd. 2002 WL

31247972, at *4 (Ex. S). As held in Narricot, the phrase “prohibits access” does not

require that the civil authority completely forbid occupancy of the premises or even all

business operation; once again, the Policy terms are subject to reasonable interpretation

based on their “plain and ordinary meaning.” Estate of Neff, 271 F. App’x at 226. To

“prohibit” does not just mean to “forbid”; it can also mean to “hinder,” or “to cause

delay, interruption, or difficulty in,” or “to be an obstacle or impediment.”15 No



15
  Prohibit, https://www.dictionary.com/browse/prohibit; Hinder,
https://www.dictionary.com/browse/hinder.

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language in the Policy requires a complete prohibition on access to Plaintiffs’ business

property, which is why the Policy’s “Extra Expense” provision provides for

“minimiz[ing] the suspension of business,” and “suspension” is explicitly defined as

“the slowdown or cessation of business activities” (FAC ¶¶ 4, 17, 19 (emphasis added).)

Once again, ambiguities in Policy language must be construed against Defendant to

provide Plaintiffs with an opportunity to develop a factual record. Sciolla, 987 F. Supp.

2d at 599; Barrett, 530 S.E.2d at 135.

D.     The Policy’s Virus Exclusion is Inapplicable to Plaintiffs’ Claims.

       1.     Defendant has failed to meet its burden of establishing that the virus
              exclusion applies to Plaintiffs’ claims.

       Under both Pennsylvania and South Carolina law, courts must strictly construe

an exclusion against the insurer who is trying to rely upon it. Swarner v. Mut. Benefit Group,

72 A.3d 641, 645 (Pa. Super. Ct. 2013) (“Exclusionary clauses generally are strictly

construed against the insurer and in favor of the insured.”); Owners Ins. Co. v. Clayton,

614 S.E.2d 611, 614 (S.C. 2005) (“Insurance policy exclusions are construed most

strongly against the insurance company, which also bears the burden of establishing the

exclusion’s applicability.”). The insurer bears the burden of proving the applicability of

a coverage exclusion. See Koppers Co. v. Aetna Cas. & Sur. Co., 98 F.3d 1440, 1446 (3d

Cir. 1996). Here, Defendant’s failure to shoulder that burden at the pleading stage is

glaring. Its only supporting authority to invoke the virus exclusion is the Diesel Barbershop




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case, which as previously discussed,16 applied inapposite Texas law to enforce a similar

exclusion.

       2.     Under the doctrine of efficient proximate cause, the Policy’s civil
              authority provision mandates coverage for Plaintiffs’ claims.

       As Defendant knows from previous litigation but failed to address in its Brief,

the “efficient proximate cause” doctrine—a factual inquiry—dictates that “if a risk

insured against was the proximate cause of a loss, the insured may recover even though

a peril excluded from coverage may have contributed thereto.” Tatalovich v. Pa. Nat’l

Mut. Cas. Ins. Co., No. 10724, 2003 WL 22844173, at *1 (Pa. Ct. Com. Pl. Oct. 10, 2003)

(Exhibit AA) (collecting cases); see also King v. N. River Ins. Co., 297 S.E.2d 637, 638 (S.C.

1982) (“[I]t is generally sufficient to prove the event insured against was the efficient

cause of the loss, even though not the sole cause.”).

       Here, the civil authority orders prohibiting the operation of Plaintiffs’ business

were the primary and “efficient proximate cause” of Plaintiffs’ business loss (FAC ¶¶

22-30, 37-38); the causal relationship between Plaintiffs’ loss of use and COVID-19

itself is much more remote.17




16
  See supra Section IV.B.2 (related COVID-19 insurance decisions).
17
  While Plaintiffs have sufficiently alleged civil authority to be the efficient proximate
cause warranting coverage here, such a determination is premature at the pleading stage.
See generally Stone v. City of Philadelphia, 153 A. 550, 552-53 (Pa. 1931).

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      3.     Defendant’s attempt to limit coverage with the virus exclusion
             should be barred by regulatory estoppel.

      Defendant should be estopped from invoking the virus exclusion. As alleged in

Plaintiffs’ amended complaint, Defendant—through the Insurance Service Office

(“ISO”)—made statements to insurance regulators that the adoption of virus exclusion

provisions was solely to clarify coverage and not reduce it, yet now it is invoking that

exclusion to limit coverage. (FAC ¶¶ 14-21, 31-32, 37-39.) Such deceptive insurance

practices should be estopped. Sunbeam Corp. v. Liberty Mut. Ins. Co., 781 A.2d 1189, 1193

(Pa. 2001) (reversing and remanding dismissal of insured’s complaint to allow insured

to present factual evidence in support of estoppel). Here, Defendant’s motion should

be denied and Plaintiffs afforded discovery to establish a record as to whether

Defendant’s invocation of the virus exclusion violates regulatory estoppel principles.

E.    Plaintiffs Sufficiently Plead Their Causes of Action.

      1.     Plaintiffs sufficiently plead the elements of each cause of action.

      To state a claim for breach of contract, a plaintiff must plead (1) the existence of

a contract and its essential terms, (2) the breach of that contract, and (3) resulting

damages. See Gorski v. Smith, 812 A.2d 683, 692 (Pa. Super. Ct. 2002); Tomlinson v. Mixon,

626 S.E.2d 43, 49 (S.C. Ct. App. 2006) (vacated on other grounds). Here, Plaintiffs have

met that pleading burden: Plaintiffs’ allegations as to existence of the Policy and the

terms therein are not disputed, Plaintiffs have sufficiently alleged that Defendant’s

denial of Plaintiffs’ insurance claim breached that agreement by improperly applying


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and/or interpreting those terms, and Plaintiffs have sufficiently alleged direct physical

loss of their restaurant business as a result of that breach. (FAC ¶¶ 5-6, 13-21, 29-40.)

       Defendant also fails to establish any insufficiency in Plaintiffs’ claims for bad

faith and declaratory relief, as its motion relies entirely on its defective breach of

contract arguments to assert Plaintiffs’ other two causes of action also fail. (Brief at 32-

33.) Defendant’s motion should be denied as to all three causes of action.

       2.     Defendant’s motion improperly seeks adjudication of factual issues.

       As held by numerous courts in this Circuit, as well as some considering claims

arising from related COVID-19 insurance denials, Defendant’s motion should be

denied because genuine issues of fact exist that should not be adjudicated at the pleading

stage. See supra Ridley Park Fitness, LLC, No. 20080358, at 1 n.1 (Ex. A); Optical Servs.,

USA, No. BER-L-3681-20, Tr. at 24-26 (Ex. B); Urogynecology Specialist of Fla. LLC, No.

20-cv-1174, Dkt. 21 at 6 (Ex. C); Stone, 153 A. at 552-53; see also Hardinger, 131 F. App’x

at 826-27 (presence of bacteria in well water was a “genuine issue of fact whether the

functionality of the [plaintiff’s] property was nearly eliminated or destroyed, or whether

their property was made useless or uninhabitable”).

                                V.      CONCLUSION

       For the foregoing reasons, Defendant’s motion to dismiss Plaintiffs’ amended

complaint should be denied in its entirety.18


18
  To the extent the Court is inclined to grant any aspect of Defendant’s motion,
Plaintiffs respectfully request leave to amend. See Dole v. Arco Chem. Co., 921 F.2d 484,

                                            27
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                                      Respectfully submitted,

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486-87 (3d Cir. 1990) (courts should use “strong liberality” in considering leave to
amend) (quoting Bechtel v. Robinson, 886 F.2d 644, 652 (3d Cir. 1989)).

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                      CERTIFICATE OF WORD COUNT

      Pursuant to Local Rule 7.8(b)(2), I hereby certify that the foregoing brief contains

7,490 words, as verified by the word-count feature on Microsoft Word.



Dated: September 30, 2020               /s/ Bradley K. King
                                        Bradley K. King




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                            CERTIFICATE OF SERVICE

       I, Bradley K. King, counsel for Plaintiffs, hereby certify that, on September 30,

2020, a copy of the foregoing PLAINTIFFS’ OPPOSITION TO DEFENDANT’S

MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT with exhibits

was filed through the Court’s CM/ECF System, which automatically generates a notice

of electronic filing to all counsel of record.



Dated: September 30, 2020                  /s/ Bradley K. King
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